Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 1 of 30

EXHIBIT B
(1 of 3)
MODERN SPORTING RIFLE (MSR)

COMPREHENSIVE CONSUMER REPORT 2010

OWNERSHIP, USAGE AND ATTITUDES TOWARDS MODERN SPORTING RIFLES

Conducted for the National Shooting Sports Foundation
by Sports Marketing Surveys

WWW.NSSF.ORG

 
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 3 of 30

MSR Consumer Report 2010

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The National Shooting Sports Foundation is the trade association for the firearms industry. Its
mission is to promote, protect and preserve hunting and the shooting sports. Formed in 1961, NSSF
has a membership of more than 6,000 manufacturers, distributors, firearms retailers, shooting
ranges, sportsmen's organizations and publishers. For more information please visit; www.nsst.org

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© 2010 NSSF Page 1
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 4 of 30

MSR Consumer Report 2010

Table of Contents

1, METHODOLOGY  isiciscssianisinccrraniseccnmmannavinncnmnssinnaiisasiauecivs 4

DRE CUTE S00 VARY ecciceneseeccmnnses caaecmoncensesincetanueK meine ERE NINTERAN 5

3 FAST FACTS.,.....00008 sibs SOU a AeswavewaaesUHebonsueeNeLENUasdenuuwasluNNbaNanceuveNTNeNeNiaENY 7

4 SAMPLE PROFILE......0nsrernencmnninieenmnunnconssesssniinrnimencenesnetenensenennt 9

4.1
4.2
4.3
4.4

Overall profile of MSR OWNESS 0.0... ce ceecccceseceeeeeeeeeeeceneeseesetseeeeseeceusesenseeeaeeteneereeenea
GeO-ANalSIS asistencia:
Military / Law Enforcement Background
Range Membership....cccsscssscccsseccccccccceeceseeeeeesssees

5S MSR BUYING PROCESS .cciccsssssvarssiscasonssvesisisscsssrescessensexes snnteneenaweneneese: Lio

5.1
5.2
53
5.4
5.5
5.6
5.7
5.8
5.9

6 MSR AND ACCESSORY SPECIFICATION.......
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6.10 Hand guard
6.11 Finish color
6.12 Barrel and Operation

PERCE CERNE EERE LTTE TEETER

13
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7 FUTURE PURCHASE INTENTIONS. .......ccccccccccececerssseenesereneeens

7.1 Likelihood of buying a new MSR in next 12 MONTHS. ecceceeeeneeeeeeeeneneeee

2010 NSSF

Page 2
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 5 of 30

MSR Consumer Report 2010

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Bi2 SABC ececccccccccceccseeeeeeee escent eenneeeeeeeseeesnneeenEEEEesCdeAnHAAEEEEE EE AeAESMOUE SEES ESSUS;HAUO EERE ES Saaeennne 37
8.3 Frequency Of USABC ccc eeecteeeeeee eee eeeee see seeeeeeeeeeeeeeeeeeeeaaaeseneaesseteeeeeeeeenaeeeene 38
Bia NEAROVEN VES MSR USAE Es. ccccuccsns cnencexcesccemeeeenn viene eeecrnuucenniens ecceenuennienvereenaes 40
S5 (WHEE USO0 wesc nie im AL
8.6 Able to shoot MSR as often as WOUIC like ............cccecscscsceesccsesssessseesseesesssserssesens 44
8.7 Barriers to shooting MSR more frequently........ccescccceseeseceeceeseteeseeeeenecseeessennas 45
B.D AMMO USEC .esscescessercecceseneeeseseeeeeesnaeeeesnaaeeeseseaeeeeensageeeeeeaeeneeseaaeseeeeaaeeeeesiaeesennaas 46
8.10 Number of rounds fired in last 12 months and forecast ...... cc eeeeececseeteeeeneee 46
SeUh. AMATO BUY G es scccissssnassssneunssenncecnmness ener sna ceswsvna snnanaavernerianecesn a eaonmencnaseenueauentas EL
8.22) RelGag AB wcwansnnancnaniwain cin anna nNiEES 48
8.13 MSR ShOOtINE. CIStAN Cis: wissisisssscisivasiercrsseasaiiossievsssasteanseiesiersversraniveeteedoteeeraneN 49
8.14 Who'do you MSR shoot With sicsasancwiiancnaiinane annua 49
8.15 Other firearm SHOOTING ACCIVILY ......ceeececsseescenseteesensnteeecesenscecenseteeeenteteeeseneneetneaas 50

9 PROFILES vecisissvsissscocnennns kitted iWeumeR ea ERieRTeERERRERES TERE RN esee NERO TERNRET TENANCE 51
9.1 Single MSR owners vs Multiple MSR OWMETS .........ccccccecceeeseseseeeeeeensceeseeeteeneeeneners 51
9.2 Range Member vs Non-Range Me@Mbetr .........c:ccecsceesscecesnseesssssesseceeneeenenaeensereeues 52
9.3. Infrequent MSR User vs Avid USer......ecccecceeeccseseeeeeeeneeeenseeeteeseenenesenseeneersnaeensaeenses 53
9.4 Target Shooters VS HUNCCIS 0.0... cccesseeseeeeeeceseeeeeeneeeeeneeeeeeaaeestaeesenaeeenaeetneeerererens 54
S15 JlOWHERS VHS OTS ENGI! MSRE saiccississccccoscsens ens ccnvaascanecinvesnvsntesesurecsunrense 55
9:6 Prem BUYERS wanna wena nant OO
9.7. Owners of Heavily Accessorized MSRS..........ccccseeeceetseeeeeeeseeeeeseeeeeeeerseeeereeestnennaes 57
9:8: “Likely MSR: BUYGES..........iisia nani RNA a aicaay an EASE OS
9.9 Likely Accessory BUYEIS 0.0... cee eecseeeeeeetee eee eeeaceeeeteeee see tecaeeeeeeneeereenieneseeneeeseneges 59
S370: {IVEY VS INGE MIT EANY cocsscecsncacesennvanconenncaanmenenesnamenve dened cqnennevenne auannnuinnenmnetencrenes 60
9.11 Favorite MSR related Magazine’s in alphabetical Order....cccseceeceseeeeeseeeenens 61
9,12 Favorite MSR related Website/Blog(s) in alphabetical order......ccccccceeceseeeeeeee 61

10 CLUSTER ANALYSIS/MARKET SEGMENTATION ...........00ccsccccsrseeesseesees O2
10.1 Cluster 1 - Young and Infrequent... ccc ceseeeeeeeseeeeeeeecnaeeeeeneeeserseeeeseneeneenenes 63
10.2 Cluster 2—MSR Work and Play ...c.ccccccsscessseceesseeeesseeeesesesenseeseeeeeeneeteeseestteereeens OF
10:3 Cluster 3\— The Great OutdOGls wissccsisisicscscmrsnnnaaninriiaienisavences BD

TO4 ‘Cluster 4 —AVid VGLeCrans iescccscecssecicsnisceauscisecucdenss cute ied coguaveieuasavcveupaaaoa wun’ vasa near veess 66
10.5 Cluster 5 — Non-Avid Veterans.....cccccccccceccsccceeccccececseeecerssessuseesesuueccuerenecsececeeeereeens 67
11 CROSS-TABULATIONS.....cc.ccecceccsscvescescccccssccennvcuscenpoencsuncrapsucerarencenesrs 68

© 2010 NSSF Page 3
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 6 of 30

MSR Consumer Report 2010

1 METHODOLOGY

The Modern Sporting Rifle (MSR) Consumer Study employed an online survey methodology. With
no database available of known MSR owners, NSSF promoted participation in this study via online
banner ads on various websites, blogs and e-newsletters geared toward firearm ownership and
hunting such as:

- AR15.com

- ARGunsandHunting.com

-  FieldandStream.com

- GunDigest.com

- GunsandAmmo.com

- QutdoorLife.com

-  RifleShooter.com

- ShootingTimes.com

- NSSF Facebook and YouTube pages

- NSSF/GunBroker Pull the Trigger e-newsletter

A contest to win one of three $500 Cabela’s gifts cards was included as an incentive to complete the
study in full. The term Modern Sporting Rifle was clearly defined as AR-platform rifles such as an
AR-15, tactical rifles and black guns. Photographs of MSR’s were also shown on the survey landing
page as well as at the beginning of the survey. A 60 second video was made available prior to
taking the survey that clearly defined the term Modern Sporting Rifle (MSR) and clarified that the
survey was specifically for owners of at least one MSR. The video promoted the study as a chance
for respondents to offer insight and help shape the future of the tactical market.

To further pair down response to those that would correctly complete the survey, the survey's
initial question asked: “Do you own at least one Modern Sporting Rifle? (If you do not own a
Modern Sporting Rifle but would still like to be entered in the contest, please select “No”.) These
safeguards narrowed the completed responses from 11,417 to 7,372 to help insure data accuracy.

The Confidence Interval for the full “MSR Owner” sample of 7,372 ranges from +/- 0.51 percentage
points to +/- 1.16 percentage points at the 95% confidence level. So for example, if the survey shows
50% of MSR owners shoot at ranges, we can be confident 95 times out of 100 that the real value lies
within +/- 1.16 p.p so between 48.84% and 51.16%. Or to put it another way: Less than 5 times out
of 100 would we expect to find a difference of more than 1.16 percentage points due to sampling.

Survey was live August 15 through November 15, 2010.

© 2010 NSSF Page 4
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 7 of 30

MSR Consumer Report 2010

2 EXECUTIVE SUMMARY

The National Shooting Sports Foundation (NSSF) contracted with Sports Marketing Surveys in 2010
to conduct a large consumer study to learn more about the category of Modern Sporting Rifle
(MSR) consumer ownership and usage. Prior to the start of the survey, NSSF gathered input from a
panel of industry leaders and experts from manufacturing, retailing, and law enforcement/military
backgrounds to ensure that correct questions were asked so that the study would result in
providing a detailed report of previously unavailable data for this segment. NSSF thanks all those
that helped in creating and promoting this study.

The study was conducted using an Internet based methodology. Banner ads and links were posted
on many of the popular consumer oriented web sites within the firearms industry in order to solicit
responses. An incentive was used in order to facilitate this process. At the end of the three month
fielding period, more than 11,400 total responses were received of which, more than 7,300 came
from verified MSR owners. This response was a significant increase from the original projections of
1,000 -1,500 responses. This large response meant that a number of very specific survey cross tabs
to review differences among MSR owners were able to be performed.

Due to the large response rate, the survey was able to examine a wide variety of data points from
ownership, usage and future purchase intentions. When it comes to MSR ownership, 12% of the
owners made their initial MSR purchases during 2010. For those that own multiple MSRs (3+), 33%
of them made their initial purchase prior to 1994. Older owners (age 65+) show a decreased
interest or demand for new MSR purchases in the coming year. The top MSR accessories or
planned upgrades are rangefinders and trigger upgrades followed by scopes, other optics and
sound suppression.

The top reasons why consumers own a MSR are; recreational target shooting, home defense,
collecting and hunting. 9 out of 10 MSR owners owned a handgun prior to acquiring their first MSR.
Overall, approximately 99% of all MSR owners owned some type of firearm prior to their first MSR
purchase. 37% of MSR owners come from a military background. The largest source of initial
interest for MSR ownership was a personal decision. 81% of all MSR purchases are new versus
used or as a gift from someone. The average price for all MSR firearms purchases was $1,083.

The biggest single source of MSR purchases comes from independent firearms retailers with
almost 40% of all purchases coming from that channel of business. 10% come from Gun Shows
while 25% are made via the Internet and/or mail order.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 8 of 30

MSR Consumer Report 2010

When it comes to aftermarket accessories for their MSR, the owners of 3+ MSRs lead the way as
25% of these owners describe their MSR(s) as heavily (4+) accessorized. About 65% of all users
have between 1-3 accessories while 16% use their MSR the way it came from the store or “out of
the box”. The majority of these aftermarket accessories are purchased with the first 12 months of
ownership. Around a quarter of these owners made accessory purchases at the time of the initial
purchase. After 12 months of purchase the likelihood of accessories being purchased drops off
significantly. The average amount of money spent on accessories for MSRs for all usage levels is
$436.00

95% of all MSR owners have used their MSR at least once during the course of the previous 12
month period. Of the 95% that used their MSR during the last 12 months, approximately 20%
participated in some form of hunting related activity.

25% of all MSR owners fired over 1,000 rounds over the past year with 32% of MSR owners expecting
to fire more in the coming 12 months. The average number of rounds fired in the last 12 months by
MSR owners is 1,056.

76% of all MSR owners say they generally prefer to shoot with at least one person when they go out
to use their MSR while 20% generally go alone.

Please contact Jim Curcuruto jcurcuruto@nssf.org, NSSF Director, Industry Research & Analysis with

any questions pertaining to this study.

© 2010 NSSF Page 6
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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 9 of 30

MSR Consumer Report 2010

FAST FACTS

60% of MSR owners that responded to the study own multiple MSRs.

Those who shoot often are much more likely to own multiple MSRs. 3 out of 4 who shoot twice
a month or more own multiple MSRs.

30% of all MSR owners purchased their first rifle in 2009 or 2010. One-third of those who own 3
or more MSRs purchased their first MSR prior to 1994.

9 out of 10 MSR owners owned a handgun prior to owning an MSR. 34% of those under the age
of 35 owned a paintball gun before owning their MSR.

20% of shooting range members first gained interest in MSRs at a shooting range. About % of
all MSR owners first gained interest in MSRs in the military.

Nearly half (44%) of MSR owners are current or former military/law enforcement.

51% of MSR owners are shooting range members. Range membership among MSR owners
steadily increases with age and income.

8 out of every 10 MSR owners purchased their MSR new. Those who own only one MSR area
bit more likely to purchase used than those who own multiple MSRs.

2/3 of all MSR owners obtained their most recent MSR in 2009 or 2010 while only 12% received
their most recent MSR in 2005 or earlier. Half of those who own 3+ MSRs and half of those who
shoot 2+ times/month received their most recent MSR in 2010.

52% of MSR owners paid under $1,000 for their MSR. 56% of those who shoot 2+ times/month
paid $1,000 or more for their most recent MSR.

39% of all MSR owners purchased their most recent MSR at an independent retail store.

3 out of every 4 MSRs most recently purchased were chambered in .223/5.56mm.

MSR owners consider accuracy and reliability to be the two most important things to consider
when buying a MSR. Owners did not consider their friends/family having one to be important.
84% of MSR owners have at least one accessory on their rifle or do not shoot “out of the box”.
Younger, (under 35 years of age), shooters are more likely than older shooters to accessorize
their rifle. 62% of owners accessorize their rifle after their purchase but within 12 months after
purchasing it.

Those most likely to spend $600+ on aftermarket customizations are: 3+ MSR owners, 2+
times/month shooters, under 35 year olds, and those with $110k+ HH income. Those spending
the least include those who own only 1 MSR and 65+ year olds.

71% of MSR owners use a scope or red dot as their primary optic. Older shooters tend to use a
scope as their primary optic more than younger, (under 35 years of age), shooters. Younger
shooters prefer a red dot as a primary optic more than older shooters.

1/3 of all MSR owners use a 30-round magazine the most in their MSR. Younger MSR owners
are more likely to use higher capacity magazines than older MSR owners.

60% of MSR owners use a collapsible/folding stock but this usage rate decreases with age.
Nearly 7 out of 10 of the most recent MSRs purchased had flat top upper receivers.

MSR owners are pretty evenly split on having rails or not having rails on their MSR.

Black is by far the most popular finish color with 83% of owners saying their most recent MSR is
black,

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 10 of 30

MSR Consumer Report 2010

Of the most recent MSRs purchased, 62% had a threaded barrel, 64% had a flash hider, 54% had
a 16” barrel, and 62% operate on a direct gas impingement.

Those most likely to purchase a MSR in the next 12 months are: 3+ MSR owners, 2+
times/month shooters, and younger, (under 35 years of age), owners.

The 3 most owned accessories are: rifle sling (81%), soft carrying case (70%), and mounted rifle
scope (68%). The top 3 that MSR owners intend to buy are: trigger upgrades, range finder, and
sound suppressor.

Recreational target shooting (8.9/10.0) was the #1 rated reason for owning a MSR in terms of
importance. Home defense was 2™ at 7.7. Professional use / job related was the least
important at 2.4,

95% of owners have used their MSR in the last 12 months. Usage slightly decreases with age
going from 98% usage rate for under 35’s to 92% for those 65+.

29% of MSR owners shoot their MSR more than once per month. .

34% of MSR owners shot more than they did the previous year; 82% said they shot more or the
same amount compared to the previous year.

44% of owners shoot at a public range and 44% shoot at a private range. Private range usage
increases with age, income, # MSRs owned, and shooting frequency.

MSR owners use “budget” factory loads 42% of the time while premium loads account for 25%,
reloads 21%, and import ammo 12%. Those who shoot more often are much more likely to
reload.

25% of owners shot over 1,000 rounds out of their MSR in the last 12 months. 32% of range
members and 20% of non-members shot over 1,000 rounds in the last 12 months. 32% of all
owners anticipate shooting over 1,000 rounds in the next 12 months.

43% of owners buy 500+ rounds of ammo at one time. Frequent shooters and multiple MSR
owners are most likely to buy 500+ rounds at one time.

45% of owners reload at least some of their ammo. Reloading is more popular with older
shooters, range members, and multiple MSR owners.

7 out of 10 reloaders reload 50% or more of their ammo; 32% reload 90% or more.

86% participated in rifle target shooting and 72% participated in handgun target shooting in the
last 12 months.

. The most popular distance to hunt/target shoot with an MSR is 100-300 yards with 63% of

owners shooting at those distances. 29% shoot at less than 100 yards. Younger shooters tend
to shoot at shorter distances than older shooters.

20% of MSR owners go shooting alone. Older, (over 35 years of age), shooters are more likely
than younger shooters to shoot alone.

8 out of 10 MSR owners feel they have not been able to shoot their MSR as much as they would
like in the last 12 months.

Not having enough free time and the cost of ammo are the 2 main issues preventing MSR
owners from shooting as much as they would like. The cost of ammo is much more important
to younger shooters than it is to older shooters.

The typical MSR owner is 35+ years old, married, and has at least some college education. 52%
have a HH income of $75,000+ and 58% do not have children living with them.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 11 of 30

MSR Consumer Report 2010

 

4 SAMPLE PROFILE

4.1 Overall profile of MSR owners

 

Overall Sample Profile

 

 

 

 

 

0% 20% 40% 60% 80% 100% 120%
3 Male Sa 99%
@ a
& Female |) 1%
Under 35 — 19%
35-44 | 22%

 

45-54 27%
55-64

65+

$45,000 and under
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$75,001 - $110,000

>$110,000

24%

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29%

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Some high school orless || 1%
High school grad or GED

 

 

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Some college 28%

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Associate degree

Education

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Bachelors degree 27%

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Post grad degree

=

Other professional degree

Children in home ST 42%
No children in home | save
Married [i 73%
Not married = 27%
Military / L.E. Background [ey AA%
Non-Military Saar 56%

 

 

 

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 12 of 30

4.2 Geo-Analysis

MSR Consumer Report 2010

The following map shows the number of MSR owners per household that responded to the survey.
It shows Montana and Wyoming as the most responsive on a per household basis.

 

 

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JAMAICA

Caribbean Sea

 

 

In terms of total respondents the following map shows a pushpin per respondent.

 

 

 

 

 

 

 

    

 

 

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© 2010 NSSF Page 10
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 13 of 30

MSR Consumer Report 2010

4.3. Military / Law Enforcement Background

The following table shows the percentage of MSR owners that are active/veterans of military and
law enforcement.

CURT ayy Alea ol eet iantetany aia. |
All MSR Owners (Base 7,372 100%

| 37%
L.E, Background 15%
Either a Military Background ora — «4A%
Law Enforcement Background

  

 

*For those with a military background, the following table shows the split between active/veteran
and the branch of military:

Military Background feeds |

TTY ANAS te) eyo} 87%

|
Military Branch
TN 42% |
Navy
Air Force

 

 

National Guard
Coast Guard
Reserves

 

[56%

*For those with a law enforcement background, the following table shows the split between
active/veteran and the branch of law enforcement:
Law Enforcement

[ETS

[Le Active
50%
sd
state
12%

*The numbers in these tables to not add up to 100 due to duplication of responses.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 14 of 30

MSR Consumer Report 2010

4.4 Range Membership

 

Do you currently have a membership at a local
shooting range?

Shooting Shooting ™
nee] ayo fo) ae Range
member Member
nA 51%

 

 

 

 

 

© 2010 NSSF Page 12
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 15 of 30

MSR Consumer Report 2010

5 MSR BUYING PROCESS

5.1 Number of MSRs owned

Number of MSRs owned

45% +
40%
35%
30%
25%
20%
15%
10%
5%
0%

40%

% of MSR owners

 

 

1 MSR 2 MSRs 3 MSRs 4 MSRs 5+ MSRs

n=6,693 Number of MSRs owned

 

 

 

e 40% of owners own a single MSR.
e The average number owned is 2.58 MSRs.

 

© 2010 NSSF Page 13
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 16 of 30

_ MSR Consumer Report 2010

 

 

5.2 First MSR purchased

 

 

 

 

 

 

 

 

 

When did you purchase / obtain your first MSR?
0% 5% 10% 15% 20% 25% 30% 35%
2010
MSR’s
2009 27% Owned
Total
2008 ae
m2
2007
Mm 3+
2006
2001-2005
1995 - 2000
Prior to 1994
n= 7,354 33%

 

 

 

 

 

® 12% of MSR owners first purchased an MSR in 2010
© Those who own 3 or more MSRs have been owners for a long time, with one-third first buying
prior to 1994,

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 17 of 30

MSR Consumer Report 2010

 

5.3 Firearms owned prior to MSR ownership

Which of the following did you purchase or own
previous to owning a MSR?

BS

0 20% 40% 60% 80% 100%

89%
89%
91%
87%

Handgun

 

 

 

239% MSR’s
Traditional Rifle re Owned
t Total
82%
80%
wi
Shotgun 80%
® 83%
79%
m2
Muzzleloader m 3+

 

59%

58%

59%
60%

BB / Airgun

 

Paintball gun

 

 

1%
1%
2%

None

 

n= 7,368

 

 

 

 

© 9 out of 10 MSR owners had a handgun before owning their MSR.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 18 of 30

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5.4 Interest gained in MSR

 

 

Where did you first gain interest in MSR’s?

 

 

 

 

 

 

60%
Own personal
interest
Military MSR’s
Owned
Friend i Total
. mi
Shooting Range
m2
Magazines
Mm 3+

Family member

 

Internet

 

Movies/TV

 

Job

Other ae
n=7,369 5%

e Own personal interest and military background were the most important influencers.

 

 

 

 

 

 

© 2010 NSSF / Page 16
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 19 of 30

MSR Consumer Report 2010

 

5.5 New vs Used

 

Was your most recent MSR purchased new,
used, or received as a gift?

0% 20% 40% 60% 80% 100%

i 4

 

 

 

 

81%
Purchased NEW MSR’s
aan Owned
85%
© Total
16%
i
19%
Purchased USED
15%
2
13%
3+

 

Received NEW 2%
as a gift 1%

 

1%
Received USED 2%
as a gift 1%
0%
n=7,304

 

 

 

 

e 81% of most recent MSR purchases were made NEW.

© 2010 NSSF ‘Page 17
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 20 of 30

MSR Consumer Report 2010

 

5.6 Year of purchase

 

In what year did you receive your most recent
MSR as a purchase/gift?

0

as

10% 20% 30% 40% 50% 60%

  
 
  

37%

2010 sae

50%

 

 

 

MSR’s
Owned

2009 I Total
Bi

2008 2
3+

7%
2007 19
3%

 

2006

 

2005 or eatlier a

 

n= 7,187

 

 

 

 

e 37% of MSR owners obtained their most recent MSR in 2010. For those owning 3 or more
MSRs, 50% obtained an MSR in 2010.
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 21 of 30

MSR Consumer Report 2010

 

5.7. Price paid

 

What was the initial price of your most recent
MSR (new out of box cost)?

0% 10% 20% 30% 40% 50% 60%

 

 

 

 

Under $500
MSR’s
5500 - $1,000 Owned
Total
$1,001 - $1,500 m1
2
$1,501 - $2,000
M3+

$2,001 - $2,500

 

4%

 

2%

1%
$2,500 - $3,500 1%

 

1%

0%
$3,500+ 0%

1%

 

1%

1%
1%

Don't know

n=7,337

 

 

 

 

© 52% of MSR owners paid under $1,000 for their most recent MSR.
e The average amount spent was $1,083.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 22 of 30

MSR Consumer I Report 2010

 

 

5.8 Place of purchase

 

Where did you buy your most recent MSR?

 

 

 

0% 10% 20% 30% 40% 50%
Independent
; 39%
Retail Store
: 25%
website
Gun Show aE 10%

 

 

Chain / Big Box
Retail Store

 

Received as gift

La
N
aS

 

Direct Mail

19
Catalog ie

 

 

Other 16%

n= 7,305

 

 

 

 

® Independent retail accounted for 39% of all recent MSR purchases.

e A quarter of all recent MSR purchases were made over the internet.

© Top “other” responses, 1) Individual/Private Sale/Face to Face, 2) Purchased from friend or
family, 3) Custom built/parts from a variety of sources.

 

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 23 of 30

5.9 Reasons for purchase

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0.00 2.00 4.00 6.00

Reliable

8.00

How important were each of the following reasons for
buying your most recent MSR?

(1=Not at all important & 10=Very im portant)

10.00

\ aa 3

 

Reputation of manufacturer

 

 

Avon Th |
To shoot competitively recs: A

Recommended by retailer =o 472
My friends/family had one n°,

n= 7,262

 

Taught to use in military/L.E. eeepc es 6.39

Availability of ammunition a ec: |
Fits body type a
Availability of parts ET ee
ayo hoct a 71
Ability to accessorize a 1g
To avoid any future ban aE, 74,
Aesthetically pleasing ee
ehtvecht a £75
co a +2
Low cost of ammo ae £88
Low recoil =a e08

Total

fle

Non

Military

/ LE.

@ Military

 

 

e The top 5 reasons for buying their most recent MSR were:
1. Accuracy

Reliability

Reputation of manufacturer

Availability of ammunition

Fits body type/Good ergonomics

vB Deh

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Page 21
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 24 of 30

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6 MSR AND ACCESSORY SPECIFICATION

6.1 MSR Caliber

 

 

What caliber is your most recent MSR?

0% 20% 40% 60% 80%

308 Les] 8%
22 | 4%
6.8 | | 3%

7.62mm x
39mm | 26

 

 

 

 

 

7.62mm x
5imm or x || 2%
54mm

 

5.45 x 39mm | 1%

 

9mm Para | 1%

Other 3%
n= 7,053

® Three-quarters of recent MSR purchases were chambered in .223 /5.56mm.

 

 

 

 

 

 

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 25 of 30

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6.2 Level of accessories

 

 

 

 
  
 
 

 

 

 

| would consider my most recent MSR as |
currently use it to be:
0% 10% 20% 30% 40% 50% 60% 70%
64%
Have a few 65% MSR’s
accessories Owned
(1~3) 66%
oe ™ Total
m1
m2
Heavily
accessorized 3+
(4+)
24%
16%
19%
Out of the box
n= 7,350

 

 

 

 

 

e Multiple MSR owners tend to accessorize their MSRs to a greater extent.
e Only 16% of MSRs are operated “out of the box” with no accessories.
e Two-thirds of MSRs have 1-3 accessories fitted.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 26 of 30

6.3. When accessorized

At time of
purchase

Post purchase
(within 12
months)

Post purchase
(after 12
months)

Not applicable

n= 7,304

 

When did you add your accessories to your MSR?

0%

 

MSR Consumer Report 2010

 

20% 40% 60% 80%

 

 

 

 

 

22%
20%
22% MSR’s
Owned
23%
Total
mi
64%
m2
67%
3+
13%
17%
13%
16%
12%

 

 

 

e Around one-quarter of MSRs are accessorized at the time of purchase.
e Just under two-thirds of MSR owners accessorize within the first 12 months after purchase.

* Multiple selections allowed. Responses do not add up to 100%

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 27 of 30

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6.4 Amount spent on accessories

 

 

 

 

 

 

 

How much after market customization did you do to
your most recent MSR in terms of dollars spent?
0% 10% 20% 30% 40%
SO
MSR’s
Owned
Si - $100 Total
m1
$101 - $200 m2
m3+
$201 - $400
$401 - $600
$601+
37%
n= 7,327

 

 

 

 

 

e Just over a quarter of MSR owners spent S600 or more on accessories for their most recent
MSR purchases. This rises to 37% for those owning 3 or more MSRs.
e $436 is the average amount spent by MSR owners for after-market customization.

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 28 of 30

MSR Consumer Report 2010

6.5 Optics

The following table shows the optics fitted to the most recent MSR purchases:

ae
|

|Reddot
|Other

 

 

6.6 Scope

 

What type of scope?

Don't know
1%

6 - 20x + power
scope
14%

 
 
  

4- 14x power scope
17%

3 - 9x poWer scope

n = 2,646

 

 

 

e 3-9x power is the most popular scope with 36%
e A quarter of MSRs have 1-4x power scopes
e Top “other” response 2-7x power scope

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Page 26
Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 29 of 30

MSR Consumer Report 2010

6.7 Magazine capacity

 

Which magazine capacity do you use the most in your most
recent MSR?

5 round capacity

i 10 round capacity

13%

   
 
  

15 round capacity
4%
30+ round
capacity
BP 20) round! capacity
27%

n=7,191

 

 

 

© A third of all MSR owners use 30+ round capacity magazines in their most recent MSR purchase.
® The next most popular magazine capacity is 20 round.
® Top “other” responses: 25 round & multiple magazines owned

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Case 1:13-cv-00291-WMS Document 23-3 Filed 04/15/13 Page 30 of 30

6.8 Stock type

MSR Consumer Report 2010

 

® 60% of MSR
owners use a
collapsible/
folding stock

 

What type of stock is on your most recent
MSR?

Precision
4%

Other

Fixed
35%

 

n=7,201

 

 

6.9 Upper receiver

 

® Nearly 7 out of
10 of the most
recent MSRs
purchased had
flat top upper
receivers

 

What type of upper receiver is on your
most recent MSR?

Fixed carrying Other
handle (A1 or 2%
A2)

   

15%

Removable
carry handle
(A3)
16%

 

n=7,182

 

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Page 28
